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                            UNITED STATES DISTRICT COURT
  7
                           CENTRAL DISTRICT OF CALIFORNIA
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 10    GREGORY FRANKLIN,                           Case No. CV 21-991-CBM (KK)
 11                              Plaintiff,
 12                        v.                      JUDGMENT
 13    A.H. MARTINEZ, ET AL.,
                                                    JS-6
 14                              Defendant(s).
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 16
 17         Pursuant to the Order Accepting Findings and Recommendation of United
 18   States Magistrate Judge,
 19         IT IS HEREBY ADJUDGED that this action is dismissed with prejudice and
 20   without leave to amend.
 21
 22   Dated: FEBRUARY 17, 2023
 23
                                              HON. CONSUELO B. MARSHALL
 24                                           Senior United States District Judge
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